                    Case 2:11-cr-00179-MEF-CSC Document 267 Filed 08/29/12 Page 1 of 7

AO 245B          (Rev. 09/11) Judgment in a Criminal Case
V1               Sheet I



                                              UNITED STATES DISTRICT COURT
                                                            MIDDLE DISTRICT OF ALABAMA

                UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                      V.                                                (No)

                       JANICE DIANE BROWN                                            Case Number: 2:1 1cr179-MEF-06

                                                                             )       USM Number: 13687-002

                                                                             )        Benjprnin Edward Schoettker
                                                                                     Defendant's Attorney
THE DEFENDANT:
      pleaded guilty to count(s)           16 of the Indictment on 4/30/12
E pleaded no'io contendere to count(s)
   which was accepted by the court.
E was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                                                        Offense Ended            Count

     42408(a)(7)(B) & 182              Misuse of a Social Security Number and Aiding and Abetting              5/30/2008                16




      See additional count(s) on page 2


       The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
 Sentencing Reform Act of 1984.
 E The defendant has been found not guilty on count(s)

      'Count(s) 17, 18 and 33                                 E is   tare dismissed on the motion of the United States.

         It is ordered that the defendant mist notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                             8/28/12
                                                                             Date of Imposition of Judgment




                                                                             Signature of Judge

                                                                             Mark E. Fuller, United States District Judge
                                                                             Name of Judge                            Title of Judge


                                                                                        _z?
                                                                             Dale
                    Case 2:11-cr-00179-MEF-CSC Document 267 Filed 08/29/12 Page 2 of 7

AU 245B         (Rev. 09/11) Judgment in a Criminal Case
VI              Sheet 2— Imprisonment

                                                                                                                     Judgment Page: 2 of 7
     DEFENDANT: JANICE DIANE BROWN
     CASE NUMBER: 2:1 1cr179-MEF-06


                                                                  IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
     Time Served plus 2 days to be released on 8/30/2012.




         El The court makes the following recommendations to the Bureau of Prisons:




             The defendant is remanded to the custody of the United States Marshal.

         El The defendant shall surrender to the United States Marshal for this district:
             El at ______________________                  a.m.     El p.m. on
             El as notified by the United States Marshal.

         El The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             El before                  on

             El as notified by the United States Marshal.
             El as notified by the Probation or Pretrial Services Office.


                                                                       RETURN
     I have executed this judgment as follows:




             Defendant delivered on                                                           to

     a                                                     with a certified copy of this judgment.



                                                                                                        UNITED STATES MARSHAL


                                                                               By
                                                                                                     DEPUTY UNITED STATES MARSHAL
                      Case 2:11-cr-00179-MEF-CSC Document 267 Filed 08/29/12 Page 3 of 7

AO 245B            (Rev. 09/11) Judgment in a Criminal Case
vi                 Sheet 3—Supervised Release

 DEFENDANT: JANICE DIANE BROWN                                                                                               Judgment Page: 3 of 7
 CASE NUMBER: 2:1 1cr179-MEF-06
                                                              SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
     3 Years

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
               The defendant shall not commit another federal, state or local crime.
          The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, fapplicable.)

     1      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable)

     1      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable)

     El The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable)

     El The defendant shall participate in an approved program for domestic violence. (Check, if applicable)
             If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
     Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that hate been adopted by this court as well as with any additional conditions
 on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
       1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)    the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;
      10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
      11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcennt officer;
      12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
             permission of the court; and

      13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
             record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendant s compliance with such notification requirement.
                   Case 2:11-cr-00179-MEF-CSC Document 267 Filed 08/29/12 Page 4 of 7

AO 245B        (Rev. 09/11) Judgment in a Criminal Case
vi             Sheet 3C - Supervised Release

 DEFENDANT: JANICE DIANE BROWN                                                                              Judgment Page: 4 of 7

 CASE NUMBER: 2:1 1cr179-MEF-06

                                             SPECIAL CONDITIONS OF SUPERVISION
     1) The defendant shall participate in the home confinement program at the home of her Aunt and Uncle Nellie and Willie
     Aldridge until a bed space is available for defendant to be placed in an in-patient drug treatment facility. During this time,
     the defendant will remain at this place of residence except to attend worship services, attend any functions or programs
     associated with defendant's son, attend family related gatherings as long as she is in the company of Aunt and Uncle
     Nellie and Willie Aldridge and other activities approved in advance by the probation officer. At the direction of the
     probation officer, the defendant shall wear an electronic monitoring device and follow electronic procedures specified by
     the probation officer. The defendant shall pay the cost of electronic monitoring as directed by the probation officer

     2) The defendant is to attend, participate and successfully complete an in-patient treatment facility with a minimum
     duration of at least 30 days. Upon completion of the in-patient treatment, further treatment will be at the discretion of the
     probation office based upon defendant's need.

     3) Immediately upon defendant's release from the drug treatment facility, she shall be transferred to a halfway house at
     the direction of the probation office for a minimum of 6 months. Defendant shall follow all of the conditions, rules and
     regulations of the halfway house.

     4) After the defendant is released from the halfway house, the defendant shall participate in a program of drug testing
     administered by the United States Probation Office, which may include testing to determine whether the defendant has
     reverted to the use of illegal drugs. The defendant shall contribute to the cost of any treatment based on ability to pay and
     the availability of third-party payments.

     5) The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
     court.

     6) The defendant shall provide the probation officer any requested financial information.

     7) The defendant shall not incur new credit charges or open additional lines of credit without approval of the Court unless
     in compliance with the payment schedule.
                     Case 2:11-cr-00179-MEF-CSC Document 267 Filed 08/29/12 Page 5 of 7

AU 245B          (Rev. 09/I1) Judgment in a Criminal Case
vl               Sheet 5—Criminal Monetary Penalties

                                                                                                                        Judgment Page: 5 of 7
     DEFENDANT: JANICE DIANE BROWN
     CASE NUMBER: 2:1 lcrl79-MEF-06
                                                    CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                         Assessment                                         Fine                              Restitution
 TOTALS                $ 100.00                                         $                                   $ $2,650.00


     E The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be entered
         after such determination.

         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
         before the United States is paid.

     Name of Payee                                                     Total Loss*              Restitution Ordered Priorit y or Percenta2e

      Advance America Cash/Advance America/Advance
      Cash America ATTN: Jeff Newman                                                                          $850.00
      P0 Box 3058
      Spartanburg, SC 29304


      QC Financial Services
      Attn: Matt Wiltinger                                                                                    $300.00
      9401 Indian Creek Pkwy #1500
      Overland Park, Kansas 66210




 TOTALS                                                                                 $0.00               $2,650.00


 E Restitution amount ordered pursuant to plea agreement $

 fl The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

          The court determined that the defendant does not have the ability to pay interest and it is ordered that:

            ' the interest requirement is waived for the         fl fine V restitution.
          Fl the interest requirement for the          fl fine     E restitution is modified as follows:



 * Findings for the total armunt of losses are required under Chajters 109A, 110, 1 bA, and 113A of Title 18 foroffenses committed on or after
 September 13, 1994, but before April 23, 1996.
                          Case 2:11-cr-00179-MEF-CSC Document 267 Filed 08/29/12 Page 6 of 7

     AO 2458          (Rev. 09/11) Judgment in a Criminal Case
     V1               Sheet SB - Criminal Monetary Penalties

                                                                                                                           Judgment Page: 6 of 7
DEFENDANT: JANICE DIANE BROWN
    CASE NUMBER: 2:1 1cr179-MEF-06

                                                        ADDITIONAL RESTITUTION PAYEES
                                                                                                                                       Priority or
          Name of Payee                                                        Total Loss*            Restitution Ordered              Percentage

          Title Cash ATTN: Roy Hutcheson                                                                          $300.00
          513 Sparkman Dr. NW
          Huntsville, AL 35816


          Cash Mart Inc. ATTN: Janet Phillips                                                                     $100.00
          613 Highway 78 West
          Jasper, AL 35501


          Cash-yule Inc.                                                                                          $100.00
          104 Woodward Ave Suite B
          Muscle Shoals, AL 35661


          Chips Title ATTN: Pat Williams                                                                           $500.00
          2235 E. South Blvd.
          Montgomery, AL 36116
                                                                                                                  $500.00
          Car Title Loans ATTN: Kevin Britton
          715 Skyland Blvd., Suite 1
          Tuscaloosa, AL 35405




                    * Findings for the total anDunt of losses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses comnitted
          on or after September 13, 1994, but before April 23, 1996.
                 Case 2:11-cr-00179-MEF-CSC Document 267 Filed 08/29/12 Page 7 of 7

AU 245B       (Rev. 09/11) Judgment in a Criminal Case
V1            Sheet 6—Schedule of Payments
                                Judgment Page: 7 of 7
 DEFENDANT: JANICE DIANE BROWN
 CASE NUMBER: 2:1 1cr179-MEF-06


                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A          Lump sum payment of$ 2,750.00                     due immediately, balance due

            F not later than                             , or
                in accordance             fl C, fl D, fl   E, or                  F below; or

 B fl Payment to begin immediately (may be combined with fl C,                         fl D, or fl F below); or

 C    fl Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                      (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D    fl Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                         (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    fl Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     E    Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101. Any balance of restitution remaining at the start of supervision shall be paid
            at the rate of not less than $50.00 per month.



 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of crininal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 E Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 E The defendant shall pay the cost of prosecution.

 E The defendant shall pay the following court cost(s):

 E The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
